                                                          Case 3:21-cv-05566-EMC Document 53 Filed 10/21/22 Page 1 of 2




                   1                                    UNITED STATES DISTRICT COURT

                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                   3
                       SHAHID BUTTAR FOR
                                                                                                                               3:21-cv-05566-EMC
                                                                                                                      Case No. _ _ _ _ _ _ _ _ _ _ __
                   4   CONGRESS COMMITTEE, et al.,
                                        Plaintiff(s),
                   5
                                                                                                                     APPLICATION FOR ADMISSION OF
                                  V.                                                                                 ATTORNEY PRO HAC VICE
                   6
                       HEARST COMMUNICATIONS,                                                                        (CIVIL LOCAL RULE 11-3)
                   7   INC.,
                                        Defendant( s).
                   8

                   9

                  10             Travis
                              I, _ ___  Andrew
                                          ___  Gasper
                                                _ _ _ , an active member in good standing of the bar of

                  11   Texas
                       _ __  Supreme
                              _ _ _ Court
                                     _ _ _ _ _ _ _ , hereby respectfully apply for admission to practice pro hac
                                                                                                                             Amicus Curiae Rutgers Law School—
            clj   12   vice in the Northern District of California representing:                                             Center
                                                                                                                             _ __   for Security,
                                                                                                                                        ___       Race
                                                                                                                                                    _and
                                                                                                                                                       _Religion
                                                                                                                                                         ____      in the
 t:: .....
    E:
  ;::3                                                                            Soyeun D. Choi
  c.8             13   above-entitled action. My local co-counsel in this case is _ _ _ _ _ _ _ _ _ _ _ _ , an
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            clj

                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office
....."' 0
O"'u              15   within the State of California. Local co-counsel's bar number is: -211344
                                                                                           -------
  "'·5
 E"'
 clj .....
 ..... 0          16                                                                                                      969G Edgewater Blvd, # 314
~ E:                   123 Washington Street, Newark, NJ 07102                                                            Foster City, CA 94404-3824
  Q)        Q)
.-<;::::   ..c:   17    MY ADDRESS OF RECORD                                                                              LOCAL CO-COUNSEL'S ADDRESS OF RECORD
8~z               18   973-353-2591                                                                                       650-380-6116
                        MY TELEPHONE# OF RECORD                                                                           LOCAL CO-COUNSEL'S TELEPHONE # OF RECORD
                  19
                        travis.gasper@rutgers.edu                                                                         soyeun@soyeunesq.com
                  20    MY EMAIL ADDRESS OF RECORD                                                                        LOCAL CO-COUNSEL'S EMAIL ADDRESS OF RECORD

                  21

                  22          I am an active member in good standing of a United States Court or of the highest court of
                  23                                                                                    TX
                       another State or the District of Columbia, as indicated above; my bar number is: _ _24096881
                                                                                                            _ _ __

                  24          A true and correct copy of a certificate of good standing or equivalent official document
                  25   from said bar is attached to this application.
                  26                                                                  zero
                              I have been granted pro hac vice admission by the Court _ _(0)
                                                                                           _ times in the 12 months
                  27   preceding this application.
                  28
                                                        Case 3:21-cv-05566-EMC Document 53 Filed 10/21/22 Page 2 of 2




                 1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                 2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                 3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                 4          10/20/2022
                     Dated: _ _ _ _ _ _ __                                                                              /s/Travis Andrew Gasper
                                                                                                                        APPLICANT
                 5

                 6

                 7

                 8                                  ORDER GRANTING APPLICATION

                 9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                10

                11                                                         Travis
                              IT IS HEREBY ORDERED THAT the application of _ _ _Andrew
                                                                                  ___  Gasper
                                                                                        _ _ _ ts

          clj   12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
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    E:
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                     must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-
  c.8           13
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          clj

                14   counsel designated in the application will constitute notice to the party.
.....oo   0
O"'u            15          October
                     Dated: _ ___   21,_
                                       2022
                                         _ _ _ __
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2clj .....
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... 0           16
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8~z             18
                                                                                 UNITED STATES DISTRICT/MAGISTRATE JUDGE

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                     Updated 11/2021                                                                   2
